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               UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

DONNY PHILLIPS,

              Plaintiff,

v.                                          Case No. 4:18cv139-MW/CAS

JULIE JONES, et al.,

           Defendants.
______________________________/

                 SCHEDULING AND MEDIATION ORDER

      This order is entered upon consideration of the parties’ joint scheduling

report. Accordingly,

      IT IS ORDERED:

         1.    The jury trial is set for the trial period that begins on Monday,

July 22, 2019. Any party with a conflict during that trial period must file a

notice within 14 days of the date of this order.

         2. The discovery deadline is extended to March 5, 2019.

         3. The joint scheduling report, ECF No. 21, will control the matters

it addresses, except to the extent of any conflict with this order. On

matters not addressed in this order or the joint scheduling report, the Initial

Scheduling Order remains in effect.




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         4. A pleading may be amended only by the deadline set out in the

joint scheduling report or on a motion showing good cause for not amending by

that date. When the Federal Rules of Civil Procedure allow an amendment

only with leave of court, a pleading may be amended only with leave of court.

         5. Disclosures under Federal Rule of Civil Procedure 26 must be

supplemented within a reasonable time after learning information calling for

supplementation and in time to ensure the opposing party is not prejudiced by

any failure to supplement immediately after the information was or with

diligence should have been discovered.

         6. The deadline for filing summary-judgment motions is 21 days after

the discovery deadline, March 26, 2019, but the motions should be filed at the

earliest appropriate time. It is rarely necessary that such motions await the

completion of all discovery.

         7. Local   Rule   56.1   applies   to   summary-judgment    motions.

Additionally, the parties must use the following procedures for filing summary

judgment papers:

        (a) First, file a notice listing exhibits to be filed in support of

or in opposition to summary judgment. Include the exhibits as

attachments to the notice on CM/ECF. Exhibits that cannot be filed

on CM/ECF must be submitted to the Clerk along with a hard-copy

notice of filing.

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        (b) Second, file the summary judgment memorandum (motion,

response, or reply) pinciting to the ECF number for the exhibit attached to the

notice listing the exhibits.

        (c) To the extent it is technologically feasible, each party must:

            (i) Highlight the portion of the exhibit it wishes this Court to see;

            and

            (ii) File deposition transcripts in a form where the text of the

            testimony is searchable with the control-F function.

         (d) The parties should take note that this Court reviews the cited

portions of the record. Discrepancies between factual assertions in the parties’

memoranda and the actual record do not go unnoticed. The parties should take

care to distinguish between record evidence and inferences which can

reasonably be made from that evidence.

         8. Local Rule 54.1 applies to attorney’s fee records. A party must not

file attorney’s fee records until needed.

         9. Deadlines will be determined based on this order (including the

joint scheduling report to the extent made applicable by this order), other

applicable orders, and the governing rules. Docket entries made by the clerk

of the court are for the clerk’s internal use and are not controlling.

         10. By a separate Order for Pretrial Conference to be issued later, a

deadline will be set for an attorney conference leading to the filing of a pretrial

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stipulation and related papers. The deadline for the attorney conference (as

established by the Order for Pretrial Conference) also will be the deadline for

disclosures under Federal Rule of Civil Procedure 26(a)(3). The deadline for

objections under Federal Rule of Civil Procedure 26(a)(3) is seven days later.

         11. A motion in limine or other pretrial motion shall be filed

no later than 15 days prior to the pretrial conference, with a response

to the motion filed no later than 5 days thereafter, to allow

consideration of the motion at or prior to the pretrial conference.

         12. The attorneys’ attention is directed to the American College of

Trial Lawyers Code of Pretrial Conduct and Code of Trial Conduct, which set

out standards of professionalism that are available on the court’s website and

at http://www.actl.com/publications/index.htm.

         13. Unless the requirement for mediation is abrogated based on a

motion showing good cause, the parties must mediate under the following

procedures:

              (a) The parties may select a mediator by agreement. If the parties

have not agreed 21 days before the discovery deadline, the plaintiff must

immediately file a notice so indicating, and the Court will appoint a mediator.

              (b) Unless otherwise agreed, the fee of the mediator must be paid

equally by the parties. The fee must be paid in the manner determined by the

mediator.

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            (c) The first mediation conference must begin within 14

days after the discovery deadline, March 19, 2019, and may begin at

any earlier time.

            (d) The following MUST attend the mediation conference unless

excused in advance on a motion showing good cause:

                  (1) The attorney of record primarily responsible for the

conduct of this case on behalf of a party.

                  (2) Each party. A corporation, other private organization, or

state or local governmental entity or officer in his or her official capacity must

attend through a representative having full authority to settle the entire case

for the party without further consultation.      The mediator may waive the

requirement that the attending representative’s full authority to settle be

“without further consultation.” Unless the mediator directs otherwise, the

parties by agreement also may waive the requirement that the attending

representative’s full authority to settle be “without further consultation.”

Unless otherwise ordered, an Assistant United States Attorney may attend for

the government.

                  (3) If a party is insured a representative of the insurer

having full authority to settle without further consultation. The mediator may

waive the requirement that the insurer’s representative’s full authority to

settle be “without further consultation.”        Unless the mediator directs

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otherwise, the parties by agreement also may waive the requirement that the

attending insurer’s representative’s full authority to settle be “without further

consultation.”

            (e) A person’s failure to attend the mediation conference as

required ordinarily will result in the imposition of sanctions.

            (f) The parties must confer in advance on the submission of written

materials to the mediator and must proceed in accordance with any agreement

they reach or the instructions of the mediator. In the absence of an agreement

or instructions, no written submissions are required, but either party may

submit materials, which the mediator may consider as the mediator deems

appropriate.

            (g) The mediator may control the procedures to be followed in

mediation, may adjourn the mediation conference and set a time for

reconvening, and may suspend or terminate mediation whenever the mediator

believes further mediation is not likely to lead to a settlement.

            (h) Everything said during mediation—other than the terms of any

settlement agreement itself—will be off the record and inadmissible as

settlement negotiations. Mediation proceedings—other than any settlement

agreement itself—must not be recorded electronically or by a court reporter.

            (i) This referral to mediation does not extend any deadline.



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            (j) Any partial or complete settlement must immediately be

reduced to writing in the presence of the mediator and must be signed by each

party and an attorney for each party.

            (k) Mediation must be completed within 28 days after the

discovery deadline, April 2, 2019. The mediator or a party must file a

report within 14 days after mediation ends indicating when mediation

was conducted and the outcome (that is, whether the case was settled

or impasse was declared). If the case is settled in full, notice to the

court must be immediate.

            (l) An attorney for each party must, within 14 days of the date of

this order, consult with the party about the advantages (including savings of

costs and attorney’s fees) and disadvantages of proceeding with mediation

immediately rather than awaiting the deadlines set in this order. On a party’s

motion, the court will consider ordering that mediation commence immediately

or at a time earlier than required by this order.

     SO ORDERED on May 21, 2018.


                                     s/ MARK E. WALKER
                                     United States District Judge




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